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                IN THE UNITED STATES DISTRICT COURT FOR THE

                         WESTERN DISTRICT OF OKLAHOMA


GORDON R. PARKER,                              )
                                               )
                             Plaintiff         )
                                               )
              vs.                              )          No. CIV-07-1306-C
                                               )
MICHAEL J. ASTRUE,                             )
Commissioner, Social Security                  )
Administration,                                )
                                               )
                             Defendant         )

              ORDER ADOPTING REPORT AND RECOMMENDATION

       This action for judicial review of the Commissioner’s denial of supplemental security

income and disability insurance benefits was referred for initial proceedings to United States

Magistrate Judge Doyle W. Argo, consistent with 28 U.S.C. § 636(b)(1)(B). Judge Argo

entered his Report and Recommendation on November 14, 2008, recommending that the

decision of the Commissioner be affirmed. Plaintiff, through counsel, has timely filed an

objection to this report, and the Court therefore considers the matter de novo.

       In his thorough and well-reasoned Report and Recommendation, Judge Argo sets out

the relevant facts and prevailing law, and no purpose would be served to repeat those here.

In objection, Plaintiff merely restates the conclusions and legal argument originally asserted,

and raises no issue not fully and accurately addressed by Judge Argo. This Court agrees the

decision of the Commissioner applied appropriate legal standards and is supported by

substantial evidence.
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      Accordingly, the Court adopts and affirms, in its entirety, the Report and

Recommendation of the Magistrate Judge, and for the reasons stated therein, the decision of

the Commissioner in this case is affirmed. A judgment will enter accordingly.

      IT IS SO ORDERED this 15th day of January, 2009.




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